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                          UNITED STATES DISTRICT COURT
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            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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                                          Case No. 3:09-CV-05718-RS
13   NETLIST, INC.,
                                          [PROPOSED] ORDER GRANTING
14        Plaintiff,                      ADMINISTRATIVE MOTION TO SEAL
                                          AMENDED ANSWER AND
15               v.                       COUNTERCLAIMS

16   GOOGLE LLC,                          Judge: Hon. Richard Seeborg

17        Defendant.

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                                                               Case No. 3:09-CV-05718-RS
                                           [PROPOSED] ORDER GRANTING MOTION TO SEAL
      Case 3:09-cv-05718-RS Document 263-2 Filed 05/10/22 Page 2 of 2




 1                                     [PROPOSED] ORDER

 2         Before the Court is Google LLC’s Administrative Motion to Seal its Amended Answer and

 3 Counterclaims (“Motion”). Having considered the Motion, supporting declaration, and other papers

 4 on file, and good cause having been found, the Court ORDERS as follows:

 5   Document          Party Claiming Court’s Ruling on           Basis for Sealing Portion of
     Sought to Be      Confidentiality Motions to Seal            Document
 6   Sealed
 7   Amended           Google            GRANTED as to            Narrowly tailored to protect
     Answer and                          redacted portions at:    highly confidential and
 8   Counterclaims                       ¶9 and ¶10 of            proprietary information regarding
                                         Affirmative Defenses     Google’s internal servers and
 9                                       section.                 components therefore, including
                                                                  details related to third parties for
10                                                                which Google is under an
11                                                                obligation to protect, that Google
                                                                  maintains as confidential in the
12                                                                ordinary course of its business
                                                                  and is not generally known to the
13                                                                public or Google’s competitors.
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           SO ORDERED.
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     DATED:
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                                                    HON. RICHARD SEEBORG
18                                                  United States District Judge

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                                                                         Case No. 3:09-CV-05718-RS
                                                     [PROPOSED] ORDER GRANTING MOTION TO SEAL
